       Case 1:18-cr-00258-BLW Document 311 Filed 10/10/19 Page 1 of 2




                      UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO

  UNITED STATES OF AMERICA,
                                              Case No. 1:18-CR-00258-BLW
        Plaintiff,
                                              ORDER ADOPTING REPORT
         v.                                   AND RECOMMENDATION

  ARTUR PUPKO,

        Defendant.


      Before the Court is a Report and Recommendation filed by the United States

Magistrate Judge. (Dkt. 308). On September 25, 2019, Defendant Artur Pupko

appeared before the Magistrate Judge to enter a change of plea pursuant to a

written plea agreement. The Magistrate Judge conducted the plea hearing and

concluded there is a factual basis for Defendant’s admission to forfeiture and plea

of guilty to the charges contained in Counts 32, 33, and 34 of the Superseding

Indictment (Dkt. 210), and that they were entered voluntarily and with full

knowledge of the consequences. No objections to the Report and Recommendation

have been filed.

      The Court has reviewed the record and finds that the requirements of Rule

11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the

requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was

ORDER ADOPTING REPORT AND RECOMMENDATION- 1
         Case 1:18-cr-00258-BLW Document 311 Filed 10/10/19 Page 2 of 2




voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

        NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Dkt. 308) shall be, and the same is hereby, ADOPTED as the

decision of the District Court and incorporated fully herein by reference.

        IT IS FURTHER ORDERED that the Defendant’s plea of guilty to the

crimes charged in Counts 32, 33, and 34 of the Superseding Indictment (Dkt. 210)

shall be, and the same is hereby, ACCEPTED by the Court as a knowing and

voluntary plea supported by an independent basis in fact containing each of the

essential elements of the offense.

        IT IS FURTHER ORDERED that Defendant Artur Pupko is found to be

GUILTY as to the applicable crimes charged in the Superseding Indictment. (Dkt

210).



                                                    DATED: October 10, 2019


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




ORDER ADOPTING REPORT AND RECOMMENDATION- 2
